    Case 4:17-cv-00175-WTM-GRS Document 1 Filed 09/25/17 Page 1 of 10




                        UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
                             SAVANNAH DIVISION

ERNEST LEWIS,

        Plaintiff,                       CASE NO.: CV4l7-l7i5

ALLIANCEONE RECEIVABLES
MANAGEMENT,INC.,

           Defendant.



               COMPLAINT AND DEMAND FOR JURY TRIAL

     COMES NOW,Plaintiff, ERNEST LEWIS, by and through the undersigned

counsel, and sues Defendant, ALLIANCEONE RECEIVABLES MANAGEMENT,

INC., and in support thereof respectfully alleges violations of the Telephone

Consumer Protection Act,47 U.S.C. § 227 etseq.("TCPA").

                               INTRODUCTION


      1.      The TCPA was enacted to prevent companies like Defendant from

invading American citizen's privacy and to prevent abusive "robo-calls."

      2.      "The TCPA is designed to protect individual consumers from

receiving intrusive and unwanted telephone calls." Mims v. Arrow Fin. Servs.,

LLC, 132 S. Ct. 740(2012).
Case 4:17-cv-00175-WTM-GRS Document 1 Filed 09/25/17 Page 2 of 10
Case 4:17-cv-00175-WTM-GRS Document 1 Filed 09/25/17 Page 3 of 10
Case 4:17-cv-00175-WTM-GRS Document 1 Filed 09/25/17 Page 4 of 10
Case 4:17-cv-00175-WTM-GRS Document 1 Filed 09/25/17 Page 5 of 10
Case 4:17-cv-00175-WTM-GRS Document 1 Filed 09/25/17 Page 6 of 10
Case 4:17-cv-00175-WTM-GRS Document 1 Filed 09/25/17 Page 7 of 10
Case 4:17-cv-00175-WTM-GRS Document 1 Filed 09/25/17 Page 8 of 10
Case 4:17-cv-00175-WTM-GRS Document 1 Filed 09/25/17 Page 9 of 10
Case 4:17-cv-00175-WTM-GRS Document 1 Filed 09/25/17 Page 10 of 10
